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           IN THE UNITED STATES DISTRICT COURT FOR THE
                   EASTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                  )
                                           )
          Plaintiff,                       )
                                           )
v.                                         ) No. CR-08-25-FHS
                                           )
DANUEL JUNIOR DYER,                        )
                                           )
          Defendant.                       )


                            OPINION AND ORDER


     On October 27, 2009, this matter came on for hearing on
Defendant Danuel Junior Dyer’s Motion to Withdraw Plea Agreement
(Doc. No. 549).        Defendant contends he should be allowed to
withdraw his plea of guilty because (1) at the time of the plea he
had not been taking his anti-depressant medication and (2) he was
put under a great deal of pressure by his attorney to agree to
charges that he didn’t commit.        Having considered the statements,
arguments, and materials submitted at the hearing, as well as the
parties’ written submissions, the Court finds Defendant’s request
to withdraw his guilty plea should be denied.


     Given the Court’s acceptance of Defendant’s plea of guilty on
August   29,   2008,    Defendant’s       request   is   governed    by    Rule
11(d)(2)(B) of the Federal Rules of Criminal Procedure, which
provides that a defendant may withdraw a plea of guilty after the
Court accepts the plea, but before sentencing, if Defendant can
show “a fair and just reason for requesting the withdrawal.”               When
analyzing such a request, the Court references seven factors.               See
                                                          th
United States v. Yazzie, 407 F.3d 1139, 1142 (10               Cir.)(en banc),
cert. denied, 546 U.S. 921 (2005). In this case, the seven factors


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weigh against the Defendant’s withdrawal of his plea.


1.    Whether   the     defendant    has    asserted    his       innocence.
Notwithstanding the factual recitation of his plea colloquy before
the Magistrate Judge that “during the time of 2005, [Defendant]
conspired to possess with intent to distribute methamphetamines in
excess of 50 grams, along with other individuals, while in McIntosh
County, Oklahoma . . . knowing the same to be illegal,” Defendant
contends in his motion that he was put under a great deal of
pressure to agree to charges he didn’t commit.             At the hearing,
Defendant reiterated his assertion of innocence to the crime of
conspiracy to possess with intent to distribute methamphetamine.
Thus, Defendant does claim to be innocent and this factor weighs in
favor of allowing withdrawal.


2.   Whether withdrawal would prejudice the government.                     The
government would clearly be prejudiced in this case due to the fact
that the withdrawal of the plea would require the government to try
a case it substantially completed against Defendant more than one
year ago when Defendant entered his guilty plea.              Witness issues
would exist regarding securing the testimony of cooperating co-
defendants and, also, the location of lay witnesses after more than
one year of relative inactivity in the case.           This factor weighs
against withdrawal.


3. Whether Defendant delayed in filing his motion to withdraw, and
if so, the reason for the delay.           Defendant entered his plea on
August 29, 2008.     Thirteen months later, after the case had been
set and reset numerous times for sentencing, Defendant files his
motion to withdraw on September 29, 2009.              No reason for this
lengthy delay is offered.     This factor weighs against withdrawal.



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4. Whether withdrawal would substantially inconvenience the Court.
The Court would have to set aside one week for the trial of this
matter.    This matter could not be set for trial immediately as
newly appointed counsel1 would need a reasonable period of time to
prepare the case.        This is an inconvenience to the Court as far as
scheduling, but not one which is substantial. This factor does not
weigh one direction or the other in the analysis.


5.    Whether close assistance of counsel was available to the
Defendant.      The record reflects that Defendant had the close
assistance of counsel before opting to plead guilty in this case.
While the Court recognizes Defendant’s contention that counsel
pressured him to plead guilty, the Court finds no evidence in the
record    to   support    this   contention     and,   moreover,      the   record
establishes that during the plea colloquy Defendant stated he was
not forced or threatened in any way or promised anything by any
person to plead guilty and that he was satisfied with the services
of his counsel and that counsel had done all that he could do as
counsel to assist him.        This factor weighs against withdrawal.


6.   Whether the plea was knowing and voluntary.             Again, during the
plea colloquy Defendant acknowledged that he was not forced or
threatened     to   plead   guilty.       The   Magistrate     Judge    carefully
questioned     Defendant     about      the   plea   charge,    the     terms    of
punishment, the terms of the proposed plea bargain, and the rights
Defendant would be giving up if he pled guilty.                With respect to
the medications (anti-depressants) Defendant contends he was not


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        At the conclusion of the hearing, the Court released
Defendant’s counsel, Rex Earl Starr, from any further
responsibilities in this matter given the accusations made by
Defendant against Mr. Starr with respect to his representation of
Defendant. The Court further directed the Federal Public
Defender to secure the appointment of new counsel for Defendant.

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taking at the time of his plea, the record establishes that the
Magistrate Judge questioned Defendant about not taking medications
since his time in jail and Defendant stated that he was not
affected in his ability to think and that he understood what was
going on.   Defendant felt his mind was free and clear at the time
of the plea.    This factor weighs heavily against withdrawal.


7.   Whether the withdrawal would waste judicial resources.              This
factor is somewhat akin to the “inconvenience to the court” factor
and is likewise one which does not weigh one direction or other in
the analysis.


     The majority of the factors weigh against withdrawal.                The
Court therefore finds that there is no fair and just reason
supporting Defendant’s request.         Consequently, Defendant’s Motion
to Withdraw Plea Agreement (Doc. No. 549) is denied.


     It is so ordered this 27th day of October, 2009.




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